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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA

v.                              4:02-CR-00213-01-WRW

CHRISTOPHER LAVELL McFADDEN


                                      ORDER

     Defendant’s Motion for Reconsideration (Doc. No. 129) is DENIED.

     IT IS SO ORDERED this 28th day of March, 2008.


                                       /s/ Wm. R. Wilson, Jr.______________
                                       UNITED STATES DISTRICT JUDGE




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